
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent’s Answer.
Claimant seeks $365.60, which includes interest, for a chair which was delivered to the respondent. The invoice for the chair was submitted but never paid. In its Answer, respondent admits the validity of the claim in the amount of $355.00, but denies the amount of the interest *146added to the original invoice. Respondent states that the invoice could not be paid because the fiscal year in which the obligation was incurred had ended. Respondent further states that sufficient funds were on hand at the close of the fiscal year in question.
The Court is restricted by W.Va. Code §14-2-12 from awarding interest unless the claim arises on a contract specifically providing for the payment of. Based on this section, the Court concludes that the respondent is not legally liable for the payment of
accrued interest. The Court therefore grants an award to the claimant in the amount of $355.00.
Award of $355.00.
